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                           UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF KENTUCKY
                                LOUISVILLE DIVISION

JASON NEMES, et al.                           :      Case No. 3:20-CV-407-CRS

v.                                            :

CARL BENSINGER, et. al.                       :

                                       CONSENT ORDER

       Plaintiffs Jason Nemes, James Howland, Ken Kearns, Aaron Gillum, Theodore Roberts,

Tyson Hermes, and Erik Hermes (the “Original Plaintiffs”), and Intervening Plaintiffs Keisha

Dorsey and Amy McGrath for Senate, Inc., by and through Counsel, and Defendants Justin

Crigler, Michael Helmig, Emily Shelton and Michael Howard (collectively the “Boone County

Defendants”), as well as Defendants Jim Luersen, Mike Jansen, James Shroer, and Jack

Snodgrass (collectively the “Campbell County Defendants”), in their official capacities as the

County Boards of Election for Boone and Campbell Counties, agree and stipulate to settle this

matter as follows:

       1. Plaintiffs agree to dismiss the Boone County Defendants and Campbell County

           Defendants, without prejudice, subject to the terms and conditions of this Agreed

           Order.

       2. Nothing in this Order shall be deemed any admission of liability, Defendants denying

           any liability.

       3. In exchange for their dismissal without prejudice, under FRCP 41(a), the Boone

           County Defendants and Campbell County Defendants agree that:

               a. The Boone County Defendants agree that they shall open a second polling

                     place for the June 23, 2020 Primary Election at 2950 Washington Square,
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                      Burlington, KY 41005 and post notice of this additional polling location on

                      the Clerk’s website to give notice to the public;

                  b. The Campbell County Defendants agree that they shall open a second polling

                      place for the June 23, 2020 Primary Election at 1098 Monmouth Street,

                      Newport, KY 41071 and post notice of this additional polling location on the

                      Clerk’s website to give notice to the public;

                  c. Both the Boone County Defendants and Campbell County Defendants agree

                      that should the Court enter an order extending polling hours, they will comply

                      with that order, subject to any modification, reversal or vacation of the

                      judgment on appeal;

                  d. The Court will retain jurisdiction to enforce this Agreed Order; and

                  e. Each party will bear their own costs and fees, the Original Plaintiffs and

                      Intervening Plaintiffs Dorsey and Amy McGrath for Senate, Inc. expressly

                      agreeing that the Boone County Defendants and Campbell County Defendants

                      will not be liable for attorney fees or costs under 42 U.S.C. 1988 or other

                      applicable law.


                             June 16, 2020



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IT IS SO ORDERED.                                         Unit
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Stipulated and Agreed:


/s/Christopher Wiest              /s/Jeffrey Mando
Counsel for the Plaintiffs        Counsel for the Boone and Campbell County
and Intervening Plaintiff         Defendants Keisha Dorsey

/s/William Brammell      Counsel for Intervening Plaintiff Amy McGrath for Senate, Inc.
